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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

HELEN GREENE JOHNSON, As Administrator of
the Estate of Khalil Islam, also known as Thomas

Johnson, Deceased,
, Case No, 22-CV-4112 (RML)
Plaintiff,

— against — ORDER OF COMPROMISE

THE CITY OF NEW YORK, et al,

Defendants.

 

 

WHEREAS, Plaintiff Helen Greene Johnson, as Administrator of the Estate of her
late husband, Khalil Islam (also known as Thomas Johnson) (the “Estate”), commenced this
action on July 14, 2022 (the “Action”);

WHEREAS, the parties have agreed to settle all claims in the Action, including
Plaintiff’s claim for attorneys’ fees and costs, for $13 million ($13,000,000.00);

WHEREAS, the parties have entered into a Stipulation of Settlement (“Stipulation
of Settlement”); and

WHEREAS, pursuant to New York Estates, Powers & Trusts Law § 5-4.6, Plaintiff

has requested that this Court approve the settlement as well as Plaintiff's counsel’s

attorneys’ fees:

NOW, THEREFORE, IT IS HEREBY ORDERED that:

l. The settlement to resolve this Action in the amount of $13,000,000.00 is
approved and deemed adequate and reasonable, and Plaintiff Helen Greene Johnson, as
Administrator of the Estate of her late husband, Khalil islam (also known as Thomas

Johnson), is authorized to settle and discontinue the claims and causes of action of the Estate

 
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against the Defendants in this Action.

2. Pursuant to the parties’ settlement agreement, Defendants shall deliver to
Plaintiff's counsel two checks comprising the $13,000,000.00 settlement amount (the
“Settlement Amount’): one made payable to “David B, Shanies Law Office LLC, as
Attorney for Helen Greene Johnson, Administrator of the Estate of Khalil Islam (also known
as Thomas Johnson)” (or, for brevity, “David B, Shanies Law Office LLC, as Attorney’’), in
the amount of $8,666,666.67, and one to “David B. Shanies Law Office LLC” in the amount of
$4,333,333.33, representing attorneys’ fees and in satisfaction of all costs and disbursements.

3. Plaintiffs counsel shail deposit both checks in the firm’s interest-bearing
escrow account,

4. Of the Settlement Amount, $4,333,333.33 is approved as attorneys’ fees for
David B. Shanies Law Office LLC, for services to the Plaintiff.

5. The attorneys’ fees approved by this Court for the prosecution of the action
for wrongful acts, neglect or default, which shall be in satisfaction of all costs and
disbursements, shall be immediately payable from the Settlement Amount upon submission
to this Court of proof of filing of a petition for allocation and distribution in the New York

County Surrogate’s Court on behalf of Khalil Islam’s (also known as Thomas Johnson)

Estate.

 
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6. David B. Shanies Law Office LLC shall continue to serve as counsel for the
Estate until the entry ofa final decree in the Surrogate’s Court.

SO ORDERED.

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Dated: December, 2022 Xw Z QS

_ ry THE HONORABLE ROBERT M-LEVY
PANVAFY ND, 2624 UNITED STATES MAGISTRATE JUDGE

 
